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                                                                                                          IN THE UNITED STATES DISTRICT COURT
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                                                                          9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         10
                               For the Northern District of California




                                                                         11   GERARDO BENITO CHANG,                              No. C 09-1607 MMC
United States District Court




                                                                         12                  Plaintiff,                          ORDER OF DISMISSAL
                                                                         13      v.
                                                                         14   THE CALIFORNIA STATE UNIVERSITY,
                                                                              SAN FRANCISCO STATE UNIVERSITY,
                                                                         15
                                                                                             Defendant
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                                                                                       The parties having reached a settlement of the above-titled action at the settlement
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                                                                              conference conducted February 25, 2010,
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                                                                                       IT IS HEREBY ORDERED that plaintiff’s claims alleged herein against defendant be
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                                                                              dismissed without prejudice; provided, however, that if any party hereto shall certify to this
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                                                                              Court, within thirty (30) days, with proof of service of a copy thereon on opposing counsel,
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                                                                              that the agreed consideration for the settlement has not been delivered, the foregoing order
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                                                                              shall stand vacated and the action shall forthwith be restored to the calendar to be set for
                                                                         24
                                                                              trial.
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                                                                                       IT IS SO ORDERED.
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                                                                         27   Dated: February 26, 2010
                                                                                                                                   MAXINE M. CHESNEY
                                                                         28                                                        United States District Judge
